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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                          *          CRIMINAL ACTION

       v.                                         *          NO. 19-118

TRAVIS LAMONT MURRAY                              *          SECTION: “D”

                                           *      *    *

       GOVERNMENT’S SUPPLEMENTAL PROPOSED JURY INSTRUCTION

       NOW INTO COURT comes the United States of America, appearing through the

undersigned Assistant United States Attorney, who respectfully submits for the Court’s

consideration the following proposed jury instructions. Defense counsel objects to this proposed

jury instruction.

                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY

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                                               s/ Frank Rangoussis
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2021, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record.



                                            s/ Kathryn M. McHugh
                                            KATHRYN M. MCHUGH
                                            Assistant United States Attorney




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FALSE EXCULPATORY STATEMENTS 1

When a defendant voluntarily and intentionally offers an explanation, or makes some statement

before trial tending to show his innocence, and this explanation or statement is later shown to be

false, you may consider whether this evidence points to a consciousness of guilt. The significance

to be attached to any such evidence is a matter for you to determine.




1
 Based on the Eighth Circuit Pattern Jury Instruction (2020). United States v. Pringle, 576 F.2d
1114 (5th Cir.1978)(approved instruction that an exculpatory statement by a defendant, later
shown to be false, may show a consciousness of guilt); See Also United States v. Simmons, 470
F.3d 1115, (5th Cir. 2006)(a defendant's exculpatory statements which are shown by other
evidence to be false may give rise to an inference of consciousness of guilt) and United States v.
Villarreal, 324 F.3d 319 (5th Cir. 2003) (a defendant's exculpatory statements which are shown
by other evidence to be false may give rise to an inference of consciousness of guilt).
                                                3
